                                              FILED
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                                                              Jun 30, 2021
                                                           CLERK, U.S. DISTRICT COURT
                                                         EASTERN DISTRICT OF CALIFORNIA
                                                                                           RECEIVED
                           UNITED STATES DISTRICT COURT                                       JUN 2   3   2021
                           FOR THE DISTRICT OF COLUMBIA                                   Clerk, U.S. District and
                                                                                            Bankruptcy Courts
                                  Holding a Criminal Term

                          Grand Jury Sworn in on January 8r2021
                                                                                   1:21-MJ-00067-BAM
 UNITED STATES OF AMERICA                             CRIMINAL NO.

             v                                        GRAND JURY ORIGINAL

 RICKY C. WILLDEN,                                    VIOLATIONS:
                                                      18 u.S.C. $ 231(a)(3)
                   Defendant.                         (Civil Disorder)
                                                      18 u.S.C. $ 111(a)(1)
                                                      (Assaulting, Resisting, or Impeding
                                                      Certain Officers)
                                                      18 U.S.C. $ 17s2(a)(1)
                                                      (Entering and Remaining in a Restricted
                                                      Building or Grounds)
                                                      18 U.S.C. $ 17s2(a)(2)
                                                      (Disorderly and Disruptive Conduct in a
                                                      Restricted Building or Grounds)
                                                      18 u.S.C. $ 17s2(a)(a)
                                                      (Engaging in Physical Violence in a
                                                      Restricted Building or Grounds)
                                                      40 u.s.c. $ s10a(e)(2)(D)
                                                      (Disorderly Conduct in a Capitol Building)
                                                      40 u.S.C. $ s10a(e)(2)(F)
                                                      (Act of Physical Violence in the Capitol
                                                      Grounds or Buildings)
                                                      40 u.s.c. $ s10a(e)(2)(G)
                                                      (Parading, Demonstrating, or Picketing in
                                                      a Capitol Building)

                                      INDICTMENT
       The Grand Jury charges that:

                                         COUNT ONE

       On or about January 6,2021, within the District of Columbia, RICKY C. WILLDEN,

committed and attempted     to commit an act to obstruct, impede, and interfere with a                    law

enforcement officer lawfully engaged in the lawful performance of his/her official duties incident
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to and durinp the commission of a civil disorder, and the civil disorder obstructed, delayed, and
            I




adversely affected the conduct and performance of a federally protected function.

       (Civil Disorder, in violation of Title     18, United States Code, Section 231(a)(3))

                                               COUNT TWO

       On or about January 6,2021, within the District of Columbia,        RICKY C. WILLDEN, did

forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and employee of

the United States, and of any branch of the United States Government (including any member            of

the uniformed services), an officer from the United States Capitol, while such officer or employee

was engaged in or on account of the performance of official duties, and where the acts in violation

of this section involve physical contact with the victim and the intent to commit another felony.

       (Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
       States Code, Sections   11   l(a)(l))

                                           COUNT THREE

       On or about January 6,2021, within the District of Columbia,        RICKY C. WILLDEN, did

knowingly dnter and remain in   a restricted    building and grounds, that is, any posted, cordoned-off,

and otherwise restricted area within the United States Capitol and its grounds, where the Vice

President and Vice President-elect were temporarily visiting, without lawful authority to do so.

       (Entering and Remaining in a Restricted Building or Grounds, in violation of Title
       18, United States Code, Section 1752(a)(1))

                                               COUNT FOUR

       On or about January 6,2021, within the District of Columbia,        RICKY C. WILLDEN, did

knowingly, and with intent to impede and disrupt the orderly conduct of Government business and

official functions, engage in disorderly and disruptive conduct in and within such proximity to, a

restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area



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within the      ited States Capitol and its grounds, where the Vice President and Vice President-

elect were              ly visiting. when and so that such conduct did in fact impede and disrupt the

orderly conduct of Government business and official.

       (Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
       of Title 18, United States Code, Section 1752(a)(2))

                                            COUNT FIVE

       On or about January 6,2021, within the District of Columbia,     RICKY C. WILLDEN, did

knowingly, engage in any act of physical violence against any person and property in a restricted

building and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the

United States Capitol and its grounds, where the Vice President and Vice President-elect were

temporarily visiting.

       (Engaging in Physical Violence in a Restricted Building or Grounds, in violation of
       Title 18, United States Code, Section 1752(a)$))

                                             COUNT SIX

       On or about January 6,2021, within the District of Columbia, RICKY C. WILLDEN,

willfully   and knowingly engaged in disorderly and disruptive conduct within the United States

Capitol Grounds and in any of the Capitol Buildings with the intent to impede, disrupt, and disturb

the orderly conduct    ofa session ofCongress and either House ofCongress,   and the orderly conduct

in that building of a hearing before or any deliberation of, a committee of Congress or either House

of Congress.

       (Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
       Section   s   10a(e)(2)(D))




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                                        COUNT SEVEN

        On or about January 6,2021, within the District of Columbia, RICKY C. WILLDEN,

willfully   and knowingly engaged in an act of physical violence   within the United States Capitol

Grounds and any of the Capitol Buildings.

        (Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
        United States Code, Section 510a(e)(2)(F))

                                         COUNT EIGHT

        On or about January 6,2021, within the District of Columbia, RICKY C. WILLDEN,

willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol

Building.

        (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
        United States Code, Section 5l0a(e)(2)(G))

                                             A TRUE BILL:



                                             FOREPE,RSON.


                                Y
Attorney of the United States in
and for the District of Columbia.




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